                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT GREENEVILLE

JOSEPH HEARN,                                 )
                                              )
       Petitioner,                            )       No.     2:12-cv-129
                                              )               2:09-cr-101
v.                                            )
                                              )       Judge Jordan
UNITED STATES OF AMERICA,                     )
                                              )
       Respondent.                            )

                                      JUDGMENT ORDER

       In accordance with the accompanying memorandum opinion, Petitioner’s motion to

vacate, set aside or correct sentence [Doc. 492] is DENIED, and Petitioner’s motion for status

report hearing [Doc. 496], motion for a ruling [Doc. 497], and motion to expedite ruling [Doc.

503] are DENIED as moot. This action is DISMISSED.

       The Court CERTIFIES that any appeal from this action would not be taken in good faith

and would be totally frivolous. Therefore, this Court DENIES petitioner leave to proceed in

forma pauperis on appeal. See Rule 24 of the Federal Rules of Appellate Procedure. Petitioner

having failed to make a substantial showing of the denial of a constitutional right, a certificate of

appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of

Appellate Procedure.

       ENTER :

                                                      __s/Leon Jordan__________
                                                      United States District Judge


ENTERED AS A JUDGMENT


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    CLERK OF COURT



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